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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF INDIANA
                        HAMMOND DIVISION


GREGORY J. LACH and                     )
CONNIE R. LACH,                         )
                                        )
Plaintiffs,                             )
                                        )
vs.                                     )    NO. 2:08-CV-251
                                        )
UNITED STATES OF AMERICA,               )
                                        )
Defendant.                              )

                         OPINION AND ORDER

      This matter is before the Court on the Rule 12(b)(1) Motion to

Dismiss, filed by Defendant, the United States of America, on

October 28, 2008.    For the reasons set forth below, the motion is

DENIED.



BACKGROUND

      Defendant, the United States of America, moves to dismiss the

complaint of Plaintiffs, Gregory and Connie Lach (“the Lachs”),

pursuant to Federal Rule of Civil Procedure 12(b)(1).              Plaintiffs

have brought this action “to quiet title to certain real property”

owned by the United States and managed by the National Parks

Service as part of the Indiana Dunes National Lakeshore.              (Compl.

at ¶ 1.)     The action is brought pursuant to 28 U.S.C. section

2904a.    (Compl. at ¶ 1.)
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        Plaintiffs became the owners of the property and residence

located at 5525 Stagecoach Road, Portage, Indiana, on November 22,

2006.     (Compl. at ¶ 8; Affidavit of Gregory J. Lach (hereinafter

“Lach Aff.”) at ¶ 1.)      The property upon which the Lachs built

their residence was acquired from Charles Ewen (Gregory Lach’s

father in law) when it was subdivided from a 35.17 acre parcel

owned by Ewen.    (Compl. at ¶¶ 9, 10; Lach Aff. at ¶ 2; Affidavit of

Charles Ewen (hereinafter “Ewen Aff.”) at ¶¶ 1, 8.)            Ewen and his

wife acquired title to the 35.17 acres on April 29, 1994.             (Compl.

at ¶ 11; Ewen Aff. at ¶ 1.)

        Prior to April 29, 1994, the 35.17 acres was owned by Marijo

Driggs, Wilma Gustafson, Melody Gustafson a/k/a Melody Gustafson

Antonini, Carolyn Nicholson Weinstein West, Larry Lee Gustafson,

and Karen E. Fischer (hereinafter “six owners”).          (Compl. at ¶ 12;

Ewen Aff. at ¶ 2.)      Beginning in the 1940s and continuing until

April 29, 1994, the six owners and their predecessors rented their

property to Ewen and his family for purposes of farming and

maintaining the 35.17 acres, and the Ewens did farm the 35.17

parcel.     (Compl. at ¶ 13; Ewen Aff. at ¶ 3.)

        Specifically, Ewen says that “[w]hile farming and maintaining

the 35.17 acres, from the 1940s until at least 2005, we also farmed

and maintained all of the land from the 35.17 acres up to the

southern edge of Stagecoach Road.”        (Ewen Aff. at ¶ 7 (emphasis

added).) During that whole time period, Ewen claims his family and


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he “used this land to access Stagecoach Road at various points.”

Id.    Additionally, over the years Ewen and his father farmed and

maintained the 35.17 acres, and before Stagecoach Road was paved,

they would also grade Stagecoach Road.         (Id. at ¶ 5.)

       To the north of the 35.17 acre parcel was land owned by Inland

Steel Company.    (Compl. ¶ 17.)    A private road known as Stagecoach

Road   ran   through   the   southern    portion   of   this   Inland    Steel

Property.     Since January 13, 1978, the National Parks Service

(“NPS”) has been the owner of this real property, referred to by

the NPS as Tract 09-102.      (Compl. at ¶ 15.)    This deed was recorded

in the records of the Recorder of Porter County, Indiana, on

January 17, 1978.      (Ex. 2 to Mem. In Supp. Of Mot. To Dismiss.)

Tract 09-102 is located directly to the north of and adjoining to

the real property owned by the Lachs (5525 Stagecoach Road) and

north of the real property owned by the Ewens (35.17 acres).

(Compl. ¶ 16.)

       In 1981, a surveying firm contracted by the NPS, Wightman &

Associates, surveyed the boundary between Tract 09-102 and the

35.17 parcel .    (See Affidavit of John Kamer, “Kamer Aff.,” at 1.)

According to John Kamer, a survey employer who participated in the

survey, some monuments marking the property boundary were already

in place at the time of the survey, and they also placed additional

concrete monuments to identify corners of the Park property, and

wood stakes around the entire perimeter of the land surveyed. (Id.


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at 2.)   Ewen never saw any 2 inch by 2 inch wooden stakes along

Stagecoach Road and the 35.17 acre parcel.          (Ewen Aff. at ¶ 10.)

Prior to mid-2005, Lach had not seen any NPS markers on the south

side of Stagecoach Road.     (Lach Aff. at ¶ 4.)        Lach had, however,

seen NPS markers and fences on the north side of Stagecoach Road.

(Id. at ¶ 5.)   The markers Lach saw on the north side of Stagecoach

Road are approximately 4 inches wide by 3 feet tall, and made of

what looks like a plastic composite.              (Id. at ¶ 6; see also

photograph of marker attached as Ex. 1A.)         The fences seen by Lach

on the north side of Stagecoach Road are made with railroad ties

spaced at varying lengths with a metal cable running between the

ties.    (Id. at ¶ 7.)       The fence is not continuous, but is

intermittently placed, and at some spots is approximately 15-20

feet north of the Stagecoach Road pavement.         (Id. at ¶ 7.)       A small

percentage of the railroad ties bear a metal sign containing the

words “US BOUNDARY NPS.”        (Id.; see also photograph of fence

attached as Ex. 1B.)

     In preparing to build his residence at 5525 Stagecoach Road,

Lach applied to the City of Portage and obtained a building permit

and improvement location permit.          (See Ex. 1C and 1D.)               The

improvement location permit mandated, among other things, that a

curb and a driveway were required before an occupancy permit would

be issued.   (Lach Aff. at ¶ 8.)     Lach believed that he would have

access to Stagecoach Road from his property.           (Id.)        On November


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17, 2006, the City of Portage issued the certificate of occupancy

for Lach’s residence at 5525 Stagecoach Road with direct access to

Stagecoach Road.    (Lach Aff. at ¶ 10.)

      On October 11, 2005, Ewen received written notice from the NPS

that it owned a portion of the land south of Stagecoach Road

between the 35.17 acres and the road, and that it disputed the

Ewens’ access to Stagecoach Road over the land.            (Ewen Aff. at ¶

9.)   Lach learned from Ewen on October 11, 2005, that there was a

problem with the NPS allowing access to Stagecoach Road from Lach’s

property.    (Lach Aff. at ¶ 11.)         Until that point, Ewen and

Plaintiffs had believed that the northern property line ran all the

way to Stagecoach Road.     (Ewen Aff. at ¶ 4; Compl. at ¶ 24.)             In

their complaint, the Lachs ask the Court to “[d]eclare that the

Plaintiffs’ [stet.] have unlimited and direct access to Stagecoach

Road from their property located at 5525 Stagecoach Road,” and that

they “be allowed to have their driveway remain in its current

position connecting their residence to Stagecoach Road.”              (Compl.

¶ 26.)

      In the instant motion, the Government argues that Plaintiffs’

claim is barred by the 12 year limitations period set forth in

section 2409a(g).    Specifically, the Government argues that the 12

year time limitation began tolling at one of two times.            The first

time, argues the Government, was in January 1978, when Defendant

took title to Tract 09-102, the land immediately north of the 35.17


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acres currently owned by the Lachs.               (Mem. In Supp. Of Rule

12(b)(1) Mot. To Dismiss, pp. 7-8.)          The Government urges that the

recording of the deed to that land “was notice to the world of the

United States’ claim of ownership.”            (Id. at 7.)      Alternatively,

the Government argues that the NPS’s surveyors marking in 1981 of

the   boundary   between    Tract   09-102     and    the   35.17      acres   also

constituted notice of ownership and started the running of the 12-

year statute of limitations.        (Id. at 7-8.)

      In response, the Lachs argue that the 12-year statute of

limitations did not begin running until October 11, 2005, when Ewen

received written notice from the NPS that it owned a portion of the

land south of Stagecoach Road, between the 35.17 acres and the

road, and disputed giving him and Lach access to the road over that

land. The Lachs attempt to distinguish the Government’s main case,

Tadlock v. United States, 774 F. Supp. 1035 (S.D. Miss. 1990) (in

which the plaintiffs claimed title to the land itself), by arguing

that Plaintiffs are only seeking the use of a small strip of land

owned by the NPS over which they must travel to gain access to

Stagecoach   Road,   or    merely   a    non-possessory      interest.         This

difference between a possessory interest and a non-possessory

interest is crucial in deciding the statute of limitations issue,

claim the Lachs.



DISCUSSION


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       Pursuant to Federal Rule of Civil Procedure 12(b)(1), a

defendant may move to dismiss claims over which the federal court

lacks subject matter jurisdiction.        Jurisdiction is the "power to

decide" and must be conferred upon a federal court.            In re Chicago,

Rock Island & Pac. R.R. Co., 794 F.2d 1182, 1188 (7th Cir. 1986).

When jurisdictional allegations are questioned, the plaintiff has

the burden of proving that the jurisdiction requirements have been

met.    Kontos v. United States Dep't of Labor, 826 F.2d 573, 576

(7th Cir. 1987).      In reviewing a Rule 12(b)(1) motion to dismiss,

the Court may look beyond the complaint and review any extraneous

evidence submitted by the parties to determine whether subject

matter jurisdiction exists.          United Transp. Union v. Gateway

Western R.R. Co., 78 F.3d 1208, 1210 (7th Cir. 1996).

       The Quiet Title Act (“QTA”) waives sovereign immunity to suits

against the United States “to adjudicate title disputes involving

real property in which the United States claims an interest.”

Block v. North Dakota, 461 U.S. 273, 275-76 (1983).              “Because the

QTA    waives   the   government’s   sovereign     immunity    from     suit,   a

plaintiff must comply with the limitations period to effectuate

that waiver.      Hence the QTA statute of limitations acts as a

jurisdictional bar unlike most statutes of limitations, which are

affirmative defenses.” Spirit Lake Tribe v. North Dakota, 262 F.3d

732, 737-38 (8th Cir. 2001) (citing Block, 461 U.S. at 275-76). An

action under section 2409 of the QTA must be brought within 12


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years of the date upon which it accrued.          28 U.S.C. § 2409a.        Such

an action accrues “on the date the plaintiff or his predecessor in

interest knew or should have known of the claim of the United

States.”   Id. at 737 (quoting 28 U.S.C. § 2409a(g)).

     The Government argues that the Lachs’ action is barred because

they knew or should have known of the United States’ claim to the

land when the United States took title and recorded the deed in

1978, or at the latest, when the NPS conducted its survey and

demarcated the boundary in 1981.        In support of this position, the

Government cites to Tadlock v. United States, 774 F. Supp. 1035

(S.D. Miss. 1990).    In that case, the United States acquired title

to a parcel of land in 1935 from a lumber company.              Id. at 1037.

When the Government posted its boundary signs beyond a fence which

was historically accepted by the lumber company and plaintiffs as

the property line, the plaintiffs argued that they acquired title

up to the fence by adverse possession against the lumber company

prior to 1935.     Plaintiffs filed a quiet title action in 1989.

They argued that they deserved title because plaintiffs and their

predecessors farmed the land on their side of the fence, ran cattle

on it, and sold timber off of it.           Id. at 1038.            Among other

arguments, the United States contended that the plaintiffs failed

to file their claim within the 12 year period provided by section

2409a(g). Id. at 1043. In response, Plaintiffs contended they did

not have actual notice of the United States’ claim until 1989,


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following the commencement of the drilling of an oil well on the

disputed land.    Id.   The Court found that plaintiffs did indeed

have prior notice of the United States’ interest in the land,

including the 1935 acquisition of the land, surveys in 1940 and

1946 in which section corners were re-monumented, the recordation

of the deed, and evidence of a failed agreement between the parties

in   1953   regarding   the   conveyance    of     the   disputed     land    to

plaintiffs.   Id. at 1043-44.       Thus, the Tadlock plaintiffs’ claims

were barred for failure to commence the action within 12 years of

their notice.

      Here, Plaintiffs distinguish Tadlock on the basis of the

nature of the disputed right. In Tadlock, plaintiffs were claiming

title to the land itself, or, as Plaintiffs characterize it, a

possessory interest.    In contrast, the Lachs allege that they are

only claiming a continued use over the small strip of land owned by

the NPS over which they must travel to gain access to Stagecoach

Road (the driveway), which they characterize as a non-possessory

interest.   (Pls.’ Resp., p. 8.)

      Plaintiffs cite to a different line of cases, which they say

control the present situation. See Werner v. United States, 9 F.3d

1514 (11th Cir. 1993), Michel v. United States, 65 F.3d 130 (9th

Cir. 1995), and Burlison v. United States, No. 04-2597 M1/P, 2005




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WL 1420879 (W.D. Tenn. June 14, 2005).1      Each one will be addressed

in seriatim.

      In Werner, owners of property that was bordered on three sides

by water and on a fourth side by an Air Force base brought action

under the QTA for an easement by necessity to use the road crossing

the base.    The government argued that the plaintiffs and their

predecessors in title knew or should have known of government

ownership or interest for more than 12 years, so summary judgment

was granted.     But the Sixth Circuit found that the issue was

“misperceive[d]”.      Werner, 9 F.3d at 1516.           Plaintiffs never

disputed the government’s ownership, nor did they deny that they

knew the government was the owner of the land between their

property and the road.     Thus, the Court described the limitations

issue as turning:

            [U]pon whether, prior to the erection of the gate,
            plaintiffs or others had been permitted to utilize
            the road for access to plaintiffs’ property and, if
            plaintiffs or others had been so permitted, when
            did plaintiffs know, or should have known, that the
            government had changed its position and, adversely
            to the interests of plaintiffs, denied or limited
            the use of the roadway for access to plaintiffs’
            property.

Id. at 1516.

      The Werner Court then turned to other applicable cases for


      1
      The Court notes that neither party has cited to controlling
Seventh Circuit law for the interpretation of this issue with
section 2409a(g), and after conducting an independent search,
this Court is not aware of any either. Thus, this Court must
look to the law created by other circuits.

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illumination.    In Park County, Montana v. United States, 626 F.2d

718 (9th Cir. 1980), Plaintiffs, counties of Montana, filed suit in

1976 against the United States under section 2409a(a) to quiet

title to an easement across lands of a national forest.                    The

district court dismissed pursuant to the statute of limitations,

but the appellate court disagreed.         In Park County, part of the

alleged right of way lay in a part of the national forest that was

designated as primitive area in 1932.       In 1962, the Forest Service

placed a rock barrier and a sign where the existent trail entered

the primitive area, prohibiting entry by motor vehicles. The Court

of Appeals agreed that plaintiffs knew or should have known of the

claim of the Untied States to the right of way more than 12 years

before suit.     However, the appellate court did not measure the

start of the limitations period from 1902 (when the Government

became owner of the property), or from 1932 (when the relevant part

of land was established as a primitive area), but rather from 1962,

when the rock barrier and the sign was placed, prohibiting use by

motor vehicles.

      The Werner Court also looked at Kinscherff v. United States,

586 F.2d 159 (10th Cir. 1978), which involved a road the United

States built on its land to a dam site.            Plaintiffs sued under

section 2409 alleging they wanted to develop their adjoining land

to which the road was the only access, and the United States

refused to let them use the road to bring in equipment, etc.


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Although the district court dismissed for failure to state a cause

of action under Section 2409a, the Tenth Circuit reversed and

remanded, holding whether an easement of necessity existed was a

mixed question of law and fact.         Regarding the limitations issue,

the Court found it started to run when the plaintiffs knew or

should have known that the government claimed it could deny their

use of the access road to their property.

        After reviewing these cases, the Werner Court finally rejected

the idea that “the notice that triggers the statute of limitations

need be only that the government claims some interest - any

interest - in the property.”          Werner, 9 F.3d at 1518-19.         Rather,

the Court held that:

             For statute of limitations purposes, the first
             inquiry must define the government’s claim and then
             one must look to the time that the government,
             acting adversely to the interests of others, seeks
             to expand that claim.

Id. at 1519.

        The other two main cases relied upon by Plaintiffs are similar

to Werner.        In Michel v. United States, 65 F.3d 130 (10th Cir.

1995), plaintiffs owned property that shared common borders with a

national wildlife refuge. The plaintiffs used the roads and trails

across the refuge to conduct their cattle and farming business.

Since     1960,    plaintiffs   and    the   United    States        engaged    in

negotiations and disputes over plaintiffs’ right of access to roads

and trails across the refuge.          In 1992, plaintiffs filed suit to


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quiet title to access routes across the refuge.                Although the

district court dismissed on the ground that the claim was barred by

the 12-year statute of limitations, the Tenth Circuit reversed

finding:

           [W]hen the plaintiff claims a non-possessory
           interest such as an easement, knowledge of a
           government claim of ownership may be entirely
           consistent with a plaintiff’s claim. A plaintiff’s
           cause of action for an easement across government
           land only accrues when the government, ‘adversely
           to the interests of plaintiffs, denies or limits
           the use of the roadway for access to plaintiffs’
           property.’

Michel, 65 F.3d at 132 (citing Werner, 9 F.3d at 1516).                    The

reasoning is as follows:


           A contrary holding would lead to premature, and
           often unnecessary, suits. If a government claim to
           title were sufficient to trigger the running of the
           limitations period on any claim affecting use of
           the property, a claimant of a right of access would
           be forced to bring suit within twelve years even
           though the government gave no indication that it
           contested the claimant’s right. The claimant would
           be compelled to sue to protect against the
           possibility, however remote, that the government
           might someday restrict the claimant’s access. The
           statute should not be read to create such an
           undesirable result.

Michel, 65 F.3d at 132.

      The third main case relied upon by Plaintiffs is Burlison v.

United States of America, No. 04-2597 M1/P, 2005 WL 1420879 (W.D.

Tenn. June 14, 2005).2     In Burlison, plaintiff brought the action


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      This case was ultimately affirmed in part and reversed in
part by Burlison v. United States, 533 F.2d 419 (6th Cir. 2008),

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under section 2409 to quiet title to a purported easement over part

of a national wildlife refuge.         Defendant moved to dismiss based

upon the statute of limitations, claiming the cause of action

accrued in 1991 when the United States’ claim in the access road

was purportedly set forth in special use permits accepted by

Plaintiffs’ predecessors.           However, the Court found that the

existence of a special use permit does not necessarily indicate the

Government’s    contestation    of    the   existence     of   an    easement.

Moreover, because the Plaintiff contended they were not aware that

the Government was asserting a right to exclude plaintiffs from the

property until 2002, within the 12-year filing period, there

existed genuine issues of material fact regarding whether the

complaint was timely filed, and the motion to dismiss was therefore

denied.   Id. at *1.

      In the present case, Plaintiffs strongly urge that they are

not claiming a title interest in the disputed land, but are rather

claiming use of the strip of land owned by the NPS over which they

must travel to gain access from their property to Stagecoach Road.

At first, this Court was “thrown off the trail,” as was the

Government, by the fact that the complaint states it is an action

“to quiet title to certain real property.”          (Compl. ¶ 1; Reply of



finding the plaintiffs did have a common-law right to traverse
the field-access road, but that the Fish and Wildlife Service
could impose reasonable regulations on the use of plaintiffs’
common-law easement.

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United States to Resp. Of Pls.’ Mot. To Dismiss, p. 1.)                 However,

close inspection of the complaint leads the Court to accept this

statement repeatedly urged by the Plaintiffs.                   The complaint

alleges that “[f]or a period of time beginning in the 1940s,

Charles   Ewen,    first   as   tenant     and   then   as   owner,     and   his

predecessors, had uninterrupted and unlimited direct access to

Stagecoach Road from all points along the northern property line of

the 35.17 acres.” (Compl. ¶ 18.) Additionally, “through usage and

the understanding of the six owners and Inland Steel Company,

rights ripened by adverse possession . . . for uninterrupted and

unlimited access to Stagecoach Road . . .”                   (Compl. ¶ 19.)

Plaintiffs “believe[d] that they had uninterrupted and unlimited

access to Stagecoach Road” (Compl. ¶ 22) and first learned of the

United States “contesting the Plaintiffs’ right to have direct

access to Stagecoach Road” on October 11, 2005, after receipt of

the letter.    (Compl. ¶¶ 23, 24.)           The complaint is couched in

terms of Plaintiffs’ access to Stagecoach Road, and not a demand

for actual title to a portion of Tract 09-102.                       Rather, the

complaint   does   make    clear    that   Plaintiffs    believed      they   had

uninterrupted and unlimited access to Stagecoach Road, and when

they found out in 2005 that the Government claimed absolute title

to the land upon which the driveway was constructed, they filed the

instant complaint requesting that the Court “[d]eclare that the

Plaintiffs have unlimited and direct access to Stagecoach Road” and


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“be allowed to have their driveway remain in its current position.”

(Compl. ¶ 26.)

        The   fact   that   Plaintiffs    are   not   claiming     a   possessory

interest does distinguish this case from Tadlock, in which the

plaintiffs sought actual title over a disputed tract of land.

Tadlock, 774 F. Supp. at 1044.            Ownership of Tract 09-102 is not

really an issue in this case - Lach and his predecessors certainly

knew that the NPS owned Tract 09-102 and the land north of

Stagecoach Road; however, they were mistaken as to the southern

boundary of Tract 09-102.         Up until Plaintiffs learned about the

NPS letter in 2005, both Ewen and Plaintiffs allegedly believed

that their northern property line ran all the way to Stagecoach

Road.    (Ewen Aff. at ¶ 4; Compl. at ¶ 24.)          In other words, taking

their pleadings as true at this stage in the proceedings, as this

Court must, Plaintiffs did not know that the NPS owned any of the

land south of Stagecoach Road, and Plaintiffs believed they had

access to Stagecoach Road because they owned the land the driveway

was on.

        This differs from the circumstances in the other easement

interest cases.        For example, in Werner, the plaintiffs admitted

that they knew the Government owned the land between their property

and the road.        Werner, 9 F.3d at 1515.      Similarly, in Michel, the

plaintiffs knew the Government claimed title to the land.                 Michel,

65 F.3d at 131.       Of course, on the flipside, this case is similar


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to Werner, Michel, and Burlison in that Plaintiffs did not know

that the NPS was asserting its right to exclude Plaintiffs from its

property until 2005, which was within the statute of limitations

period.

      Another difference between these easement interest cases and

the present one, as the Government has pointed out, is that Werner

and the cases cited within dealt with plaintiffs who had a historic

use of the Government’s property.                Similarly, in Michel, the

plaintiffs historically used the roads and trails across the

wildlife   refuge.      Michel,     65    F.3d    at    131.       Although     the

construction of the driveway in this case is new, the Court notes

that there has been some historic use here as well (albeit a

different kind), because Ewen had farmed and maintained all of the

land in his 35.17 acres (including up to the southern edge of

Stagecoach Road) and Ewen used the land to access Stagecoach Road

at various points.        (Ewen Aff. at ¶ 7.)                Nevertheless, the

Government claims this intermittent use is insufficient, and the

driveway is a new burden to its land.

      Upon balancing, the Court believes this line of case law

(Werner, Michel, and Burlison) is factually similar enough to be

instructive here.     What links all of these cases, including the

instant one, together is the fact that the parties are not claiming

possession of the disputed land, but rather an easement over it.

The Lachs are not seeking title of the land, but instead an


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easement for their continued use of the driveway connecting them to

Stagecoach Road.       This commonality is enough to follow the holding

that:

               [W]hen the plaintiff claims a non-possessory
               interest such as an easement, knowledge of a
               government claim of ownership may be entirely
               consistent with a plaintiff’s claim. A plaintiff’s
               cause of action for an easement across government
               land only accrues when the government, ‘adversely to
               the interests of plaintiffs, denies or limits the
               use of the roadway for access to plaintiffs’
               property.’

Michel, 65 F.3d at 132 (citing Werner, 9 F.3d at 1516).

     Thus, the Court finds that the statute of limitations in this

case did not start running in 1978 when the NPS acquired ownership

to Tract 09-102, or in 1981 when the surveyors allegedly placed

markers along the boundary of Tract 09-102, because these acts

merely placed the Lachs and/or their predecessors on notice that NPS

claimed    ownership      of   Tract   09-102.   Rather,      the      statute    of

limitations began running in 2005 when Plaintiffs received notice

from the NPS that the NPS was disputing the Lachs’ use of the

driveway across NPS land.

     In its reply memorandum, the Government argues at length that

this case should be dismissed because the Lachs will not be able to

establish an implied or prescriptive easement over the NPS land.

This is off course from the Government’s initial Rule 12(b)(1)

motion    to    dismiss   in   which   it   argued   that   the     Court   lacked

jurisdiction because Plaintiffs’ complaint was not filed within the


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12-year statute of limitations prescribed by section 2409a(g). This

argument (whether an easement is proper) may ultimately go to the

merits of this case, and may be advanced in a motion for summary

judgment should the Government so choose, but it is not relevant to

the task at hand, which is whether this Court has subject matter

jurisdiction.



CONCLUSION

     For the reasons set forth above, the Rule 12(b)(1) Motion to

Dismiss is DENIED.



DATED: May 26, 2009                      /s/RUDY LOZANO, Judge
                                         United States District Court




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